Case 5:06-po-00172-BWC Document4 Filed 04/04/07 Page1of1 Pageid#: 3

CLERK'S OFFIQE U.S. DIST, COURT
AQ 245H — (Rev. 12/03 - VAW Additions 1/06) Judgment in a Criminal Case for a Petty Offense (Short Form) AT CHARLOTTESVILLE, VA
Sheet ! FILED

UNITED STATES DISTRICT COURT 9 ty,

ye ee JOHN'F) RAN, CLERK
Western District of Virginia BY: ogre Zz
’ UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
V. (For a Petty Offense) - Short Form
DAVID A. HOBBS CASE NUMBER: DVAW506P0000172-001
CASE NUMBER:
USM NUMBER:

Michael Hemenway

Defendant's Attomey
THE DEFENDANT:
(] THE DEFENDANT pleaded guilty to count(s)
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense Offense Ended Count
36 CFR 2.34(a)(2) Disorderly conduct 7-15-06 1
[x] Count(s) One is dismissed on the motion of the United States pursuant to Rule 48(a).

CRIMINAL MONETARY PENALTIES

All criminal monetary penalty payments are to be made as directed by the court.

Assessment Fine Processing Fee
Total: $ $ $
Defendant's Soc. Sec. No; 2150 4-3-07
Date of Imposition of Judgment
Defendant's Date of Birth: 1943 _—2
POLE
Defendant's Residence Address: ~~" Signature of Judge e ( ~

Sterling, VA

B. Waugh Crigler, United States Magistrate Judge
Name and Title of Judge

H-4-O7

Date

Defendant's Mailing Address:
Sterling, VA

